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                                                                            FILED
                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                                                                             JUN 27 2017
                          MISSOULA DIVISION                                  Clerk, u.s Courts
                                                                             District Of Montana
                                                                             Missoula Division


 UNITED STATES OF AMERICA,
                                               CR 11-57-M-DWM
              Plaintiff,

        vs.
                                               FINAL ORDER IN GARNISHMENT
 TERRENCE E. PAULIN,

              Defendant,

 VIABELLA HOLDINGS, LLC,

              Garnishee.


      A writ of garnishment, directed to garnishee, has been duly issued and

served upon the garnishee. Pursuant to the writ of garnishment, the garnishee

filed an answer on or about May 30, 2017, stating that at the time of the service of

the writ, garnishee had in garnishee's possession, custody or control personal

property belonging to and due defendant, that defendant is employed by the

garnishee and earns regular wages from the garnishee.

      On or about May 12, 2017, the defendant was notified of his right to a

hearing and has not requested a hearing to determine exempt property.

      On June 23, 2017, the plaintiff filed a request for entry of final order in

garnishment. No responsive pleading has been filed.


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      Accordingly, IT IS ORDERED that the plaintiffs request for entry of a final

order of garnishment (Doc. 131) is GRANTED. Garnishee shall pay to plaintiff the

lesser of a) 25% of defendant's disposable earnings orb) the amount by which

defendant's disposable earnings exceed 30 times the federal minimum hourly wage.

"Disposable earnings" are those earnings remaining after deductions of any

amount required by law to be withheld, such as social security and withholding

taxes. These payments shall be made at the same time the employee is paid and

shall continue until the debt to the plaintiff is paid in full or the garnishee no longer

has custody, possession or control of any property belonging to the debtor or until

further order of this Court. Payments shall be sent to: Clerk of U.S. District

Court, P.O. Box 8537, Missoula, Montana 59807.

      IT IS FURTHER ORDERED that any amounts which the garnishee may be

holding pursuant to the writ of garnishment shall immediately be turned over to the

United States Attorney at the above address.

      DATED this     ~f;_y of June, 2017.




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